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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 06-23048-CV-MOORE

  ELI LILLY AND COMPANY,
  individually, and f/u/b/o ELGO
  INSURANCE COMPANY, LTD.,
  individually, and f/u/b/o CERTAIN
  LONDON MARKET REINSURANCE,

                 Plaintiffs,



  AIR EXPRESS INTERNATIONAL
  USA, INC. d/b/a DANZAS AIR &
  OCEAN and d/b/a DHL GLOBAL
  FORWARDING and LUFTHANSA
  CARGO AG,

                 Defendants.
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    OMNIBUS ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFFS'
    MOTION FOR SUMMARY JUDGMENT; GRANTING IN PART AND DENYING IN
   PART DEFENDANT DHL'S MOTION FOR SUMMARY JUDGMENT; GRANTING IN
     PART AND DENYING IN PART DEFENDANT LUFTHANSA'S MOTION FOR
            SUMMARY JUDGMENT; DENYING MOTIONS TO STRIKE

         THIS CAUSE came before the Court on Plaintiffs' Motion for Summary Judgment (dkt #

  93), Defendant Air Express International USA, Inc. d/b/a Danzas Air & Ocean and d/b/a DHL

  Global Forwarding's Motion for Summary Judgment (dkt # 88); and Lufthansa Cargo AG's

  Motion for Summary Judgment (dkt # 92).

         UPON CONSIDERATION of the Motions, the pertinent portions of the record, and being

  otherwise fully advised in the premises, the Court enters the following Order.
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  I.      FACTS

          This case involves the spoilation of a shipment of temperature sensitive insulin products

  en route from Fegersheim, France to Indianapolis, Indiana. Plaintiffs assert three claims in their

  Complaint: (1) breach of a Service Agreement between Defendant Air Express International

  USA, Inc., d/b/a Danzas Air & Ocean and d/b/a DHL Global Forwarding ("DHL"), and Plaintiff

  Eli Lilly and Company ("Lilly"); (2) breach of air waybills by DHL; and (3) breach of air

  waybills by Defendant Lufthansa Cargo AG ("Lufthansa").

         Lilly is a pharmaceuticals company. Lilly was the consignee of the spoiled cargo that is

  the subject of this case. Plaintiff Elgo Insurance Company ("Elgo"), a wholly-owned subsidiary

  of Lilly, provides "fronting insurance" for Lilly and its subsidiaries and assists Lilly in obtaining

  greater coverage through the reinsurance market. Plaintiff Certain London Market Reinsurance

  Underwriters ("London Reinsurers") provided reinsurance coverage for Lilly and its subsidiaries.

         Eli Lilly France, S.A. ("Lilly France") is an affiliate of Lilly. Lilly France contributed to

  the manufacturing of the temperature-sensitive pharmaceuticals that are the subject of this

  lawsuit. The pharmaceuticals contained in the shipments in question were initially manufactured

  in the United States and the United Kingdom and then shipped to Lilly France for further

  manufacturing and finishing. Lilly France manufactures pharmaceuticals at its plant in

  Fegersheim, France (the "Fegersheim plant").

         DHL is a provider of logistics solutions, worldwide air and ocean freight, global project

  forwarding, and European overland transport. Pursuant to a Service Agreement between DHL

  and Lilly commencing January 1,2003 (the "Service Agreement"), DHL was to provide

  logistical services to Lilly, "including air and ocean freight services, warehousing and
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   distribution, ground transportation, traditional freight forwarding, customs brokering and

  clearance, and logistics management." (Service Agreement, at 3.) The Service Agreement

   expired under its own terms on December 3 1,2007.     (aat 10.)
          Lufthansa was Lilly France's preferred carrier for shipments of pharmaceuticals from the

   Fegersheim plant to the United States. Since at least 2002, Lilly France instructed DHL to

  arrange bookings with Lufthansa for six to eight containers to be shipped per week. These six to

  eight containers booked for weekly shipment are known as Lilly France's "allotment" shipments.

   Shipments of containers over Lilly France's allotment shipments (i.e., shipments in excess of

  weekly allotment shipments), are referred to as "supplemental" shipments.

          Lufthansa offers a shipping service called "Coolltd." Under Coolltd, Lufthansa, via DHL,

  provides Lilly France with LD9 "cooltainers" in which to ship its pharmaceuticals. These LD9

  containers are insulated containers designed to keep cargo cool during transit. They are not

  designed to protect cargo from exposure to freezing temperatures. As part of the Coolltd

  program, the LD9 containers were to be stored at an ambient temperature between 12°C-28°C

  during transport from the Fegersheim plant to Lilly's plant in Indianapolis. The shipments that

  are the subject of this lawsuit were shipped pursuant to Lufihansa's Coolltd program. Lilly

  France placed temperature recording devices known as "TempTales" inside and outside the LD9

  containers in order to monitor the air temperature that the container and cargo would be exposed

  to in transit. Sensitech, the manufacturer of the TempTales, provided Lilly France with

  certificates attesting to the accuracy of the TempTales within one half of a degree Celsius.

          Under the Cool/td shipping service, if there were at least three containers in each

  shipment, Lufthansa would provide the trucking from the Fegersheim plant to the designated
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  airport. Lufthansa would provide the airport storage of the LD9 containers, loading of the

  containers onto airplanes, air transport from the designated airport to Chicago's O'Hare airport,

  and the trucking service from O'Hare airport to Lilly's pharmaceutical facility in Indianapolis.

         At the time the shipments in question occurred, Lufthansa, in conjunction with Lilly and

  DHL, was drafting a Standard Operating Procedures manual. The Standard Operating

  Procedures manual was to break down each function in the transportation cycle and assign

  responsibility to the three parties for each function in the cycle. There was no finished draft at

  the time the shipments in question occurred.

         At the time the shipments in question occurred, Frankfurt, Germany was the regular

  airport for the allotment shipments from the Fegersheim plant to Lilly's plant in Indianapolis.'

  When there was availability, DHL would also arrange for the supplemental shipments to go

  through Frankfurt. If Frankfurt was unavailable, Lufthansa would suggest alternative routes for

  shipping the supplemental containers. Lilly France's logistics team would give the final approval

  regarding utilization of the alternative route suggested by Lufthansa. DHL would then arrange

  these alternative routes. One of Lufthansa's suggested alternative routes that Lilly France

  occasionally utilized was through the Munich, Germany airport. Approximately 8 of 440

  shipments in the two years prior to the shipments in question went through Munich. All

  supplemental shipments were still subject to Lufthansa's Coolltd program.

         On December 1, 2004, Lilly France requested that DHL arrange a supplemental shipment

  to Indianapolis of eight LD9 containers of cold-sensitive pharmaceuticals (insulin and growth



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                 The draft Standard Operation Procedures manual, dated March 2004, indicated that
  shipments were to go through the Frankfurt, Germany airport.
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  hormone) for December 20 and December 2 1,2004. The eight containers were broken down into

  two shipments of four containers each. Consistent with prior procedure, DHL contacted

  Lufthansa's booking agent. Lufthansa proposed routing the supplemental shipments through

  Munich due to a lack of capacity out of Frankfurt. DHL's "implant" at the Fegersheim plant - i.e.,

  DHL's dedicated customer service representative at the plant - advised Lilly France of

  Lufthansa's proposal and Lilly France approved it.

         DHL issued two house air waybills between Lilly and DHL for the subject shipments.

  Dl-IL also issued two master air waybills between DHL and Lufthansa for the subject shipments.

  All of the waybills contained instructions to keep the cargo "REFRIGERATED AT +8

  DEGREES CELSIUS" and to "AVOID FREEZING." All of the air waybills contained a box

  titled "Declared Value for Carriage." All of the air waybills for the shipments in question were

  marked "NVD" - "No Value Declared." The master air waybills state, in the box titled "Nature

  and Quantity of Goods," "CONSOLIDATED SHIPMENT PER ATTACHED MANIFEST."

  DHL's implant at the Fegersheim plant was responsible for filling out the waybills. Hartmut

  Flessa, Lufthansa's Director of Handling Competence, testified at his deposition that the

  inclusion of the word "consolidated" on the master air waybill would have led the cargo handlers

  at Munich airport to assume that the shipments in question were of low value and required no

  special temperature-sensitive handling.

         The subject shipments were picked up at the Fegersheim plant by heated trucks hired by

  Lufthansa, weighed at the Strasbourg, France airport, and transported by heated trucks hired by

  Lufthansa to the Munich airport. At the Munich airport, the subject shipments were left outside

  in freezing temperatures prior to being loaded in the airplane and shipped to Chicago.
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         After the supplemental shipments arrived in Indianapolis, the TempTales inside and

  outside the LD9 containers indicated that seven of the eight containers had been subjected to sub-

  freezing temperatures in violation of the Coolltd shipping protocols. The normal practice of Lilly

  is to release the cargo for sale if the TempTales demonstrate no impermissible temperature

  deviation during shipment. Defendants contend that for one of the seven containers, only one of

  the five TempTales in the container registered sub-freezing temperatures. Defendants contest the

  accuracy of the TempTales' temperature measurements for all seven containers.

         Lilly France issued notices of claim to DHL on December 23 and 24,2004, for damage to

  the subject shipments. DHL then issued notices of claim to Lufthansa on December 24,2004.

         Article 3 of the Service Agreement, Performance Metrics, provides:

         Exception Reporting: An "Exception Report" will be completed by the Supplier for
         each incident. . . . A root cause analysis will be performed. Responsibility will be
         assigned. Immediate action is to be documented. A corrective plan will be
         documented and discussed with Lilly affiliate[.] The exception report will [be] signed
         by Lilly and Supplier.

         Graphs and data of the TempTales' temperature measurements were emailed to the

  Fegersheim plant. Lilly France and DHL's representatives then met pursuant to Article 3 of the

  Service Agreement to complete an Exception Report. The Exceptions Reports, dated December

  24, 2004, both stated in relevant part: "Two cooltainers are frozen, because [Lufthansa] did not

  respect Coolltd procedures." (Scheer Deposition, at Exs. 5-A and 5-B.)

         In a letter dated January 3, 2008, J. Florian Pfaff, Lufthansa Cargo Vice-President Global

  Key Account Management, wrote to Renee Scheer apologizing for spoilation of the shipment.

  Pfaff wrote: "The shipment was forwarded to Munich and unfortunately there the cool containers

  were left outside the terminal due to human error. In order not to run into such a situation again I
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  have advised our office in SXB to book and accept only routings via Frankfurt with immediate

  effect." (See Scheer Deposition, at Ex. 7.) On January 13,2005, Monica Houck, a Lufthansa

  Cargo Pharmaceuticals Global Industry Manager, wrote an email of apology to Lilly. Therein,

  Houck stated that the reason for the spoilation was "human error." (See id., at Ex, 6.) She

  further stated that one of Lufthansa's action items was that "[Munich airport] is closed for coolltd

  until further notice since beginning ofjanuary." (See id.)

          Two weeks after the shipments arrived in Indianapolis, Lilly destroyed the insulin

  products shipped in the seven containers which registered sub-freezing temperatures on their

            Some of the growth hormone was salvaged. A DHL representative sent an email to
  TernpTale~.~

  Lilly's insurance company representatives requesting that the spoiled cargo not be destroyed.

  Lilly contends that in order to properly test the insulin products to ensure that they were still

  viable, Lilly would have had to subject the insulin products to destructive testing. Lilly let the

  insurance underwriters and DHL representatives examine the spoiled shipment but did not allow

  them to take the product away from its facility.

          Article 5 of the Service Agreement, Indemnification, provides in a subsection titled

  "Liability Limitations":

          Except for a party's obligations of this Agreement, any damages either party is
          required to pay for any reason whatsoever and regardless of the form of action, in
          the aggregate, shall be limited to two times the amount of the total fees payable to
          Supplier hereunder. Neither Supplier nor Lilly shall be liable for any special,
          punitive or consequential damages, or loss of profits arising out of or in
          connection with the respective obligations under this Agreement.

  Lilly made a claim to its insurance company Elgo in the amount of $10,251,432.50, which

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                  Defendants contest whether Lilly actually destroyed the insulin products because Lilly
  did not issues Certificates of Destruction pursuant to their normal procedures.
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  included the transfer price of the damaged cargo, freight costs, and salvage expenses. Elgo, in

  turn, made a claim to its reinsurers. The insurerlreinsurers paid a total of $9,000,000 on the

  claim.

  11.      STANDARD OF REVIEW

  The applicable standard for reviewing a summary judgment motion is unambiguously stated in

  Rule 56(c) of the Federal Rules of Civil Procedure:

              The judgment sought should be rendered if the pleadings, the discovery and
              disclosure materials on file, and any affidavits show that there is no genuine
              issue as to any material fact and that the movant is entitled to judgment as
              a matter of law.

  Summary judgment may be entered only where there is no genuine issue of material fact. Twiss

  v. Kurv, 25 F.3d 1 5 5 1. 1 554 (1 1th Cir. 1994). The moving party has the burden of meeting this

  exacting standard. Adickes v. S.H. Kress & Co., 398 U.S. 144, 157 (1970). An issue of fact is

  "material" if it is a legal element of the claim under the applicable substantive law which might

  affect the outcome of the case. Allen v. Tvson Foods, Inc., 121 F.3d 642,646 (1 lth Cir. 1997).

  An issue of fact is "genuine" if the record taken as a whole could lead a rational trier of fact to

  find for the nonmoving party. Id.

           In applying this standard, the district court must view the evidence and all factual

  inferences therefrom in the light most favorable to the party opposing the motion. Id. However,

  the nonmoving party "may not rest upon the mere allegations or denials of the adverse party's

  pleading, but the adverse party's response, by affidavits or as otherwise provided in this rule,

  must set forth specific facts showing that there is a genuine issue for trial." Fed. R. Civ. P. 56(e).

  "'lhe mere existence of a scintilla of evidence in support of the [nonmovant's] position will be
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   insufficient; there must be evidence on which the jury could reasonably find for the

   [nonmovant]." Anderson v. Liberty Lobby. Inc., 477 U.S. 242,252 (1986).

   111.   ANALYSIS

          A. Plaintiffs' Claims are Governed by the Montreal Convention

                   1 . Plaintiffs' state law claims are preempted

          The Montreal Convention entered into force on November 4,2003. Convention for the

   Unification of Certain Rules for International Carriage by Air, May 28, 1999, ICAO Doc. 9740,

   reprinted in S. TREATY DOC. NO. 106-45, 1999 WL 33292734 (2000). It succeeded the

   Warsaw Convention as the treaty exclusively governing the rights and liabilities of passengers

   and carriers in international air transportation. Convention for the Unification of Certain Rules

   Relating to International Transportation by Air, Oct. 12, 1929,49 Stat. 3000, T.S. No. 876

   ( 1934), ("Warsaw Convention").     "The new treaty unifies and replaces the system of liability that

   derives from the Warsaw Convention, explicitly recognizing the importance of ensuring

   protection of the interests of consumers in international carriage by air and the need for equitable

   compensation based on the principle of restitution." Sompo Japan Ins., Inc. v. Nippon Cargo

   Airlines Co., 522 F.3d 776, 780-81 (7th Cir. 2008). The convention applies to all actions for

   damages to cargo shipped between member states. Montreal Convention, Art. 29. The United

   States, France, and Germany have signed and ratified the Montreal C ~ n v e n t i o n . ~

          Article 24(1) of the Warsaw Convention provides: "In the cases covered by Articles 18

   and 19 [which include the provision governing damage to cargo] any action for damages,


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                   The United States Senate ratified the Montreal Convention on July 31, 2003. The
   Montreal Convention became effective for the Fourteen European Contracting States of the International
   Cicil Aviation Organization (ICAO), including France and Germany, on June 28, 2004. ICAO PI0 05/04.
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   however founded, can only be brought subject to the conditions and limits set out in this

   Convention." Courts construe Article 24(1) as preempting all state law claims falling within the

   scope of the Warsaw Convention.            Fishman by Fishman v. Delta Air Lines, 132 F.3d 138,

    14 1 (2d Cir. 1998). Article 29 of the Montreal Convention, in turn, states: "In the carriage o f . . .

   cargo, any action for damages, however founded, whether under this Convention or in contract or

   in tort or otherwise, can only be brought subject to the conditions and such limits of liability as

   are set out in this Convention." Courts have construed Article 29 of the Montreal Convention as

   sinlilarly preempting state law actions falling within its scope.          Paradis v. Ghana Airways

 ,.&I    348 F. Supp. 2d 106, 11 I (S.D.N.Y. 2004) ("Article 29 of the Montreal Convention simply

   clarified the language of the Montreal Protocol's amendment to Article 24(1) of the Warsaw

   Convention.").

           Plaintiffs' state law causes of action for breach of contract fall within the scope of the

   Montreal Convention. Article 18(1) of the Montreal Convention provides that: "The carrier is

   liable for damage sustained in the event of the destruction or loss of or damage to, cargo upon

   condition only that the event which caused the damage so sustained took place during the

   carriage by air." Pursuant to Article 18(3), "carriage by air. . . comprises the period during which

   the cargo is in the charge of the carrier." It is undisputed by the parties that any damage to the

   cargo in this case occurred while the containers were in the charge of Lufthansa. Accordingly,

   Plaintiffs' breach of contract claims is preempted, and Plaintiffs may only recover against

   Defendants subject to the conditions and limits of liability as set forth in the C ~ n v e n t i o n .To
                                                                                                         ~


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                     Plaintiffs attempt to circumvent applicability of the Convention by arguing that "[t]he act
   of ro~ltirigthe cargo through Munich caused andlor contributed to the damage and therefore may take the
   claims outside of the Montreal Convention." (dkt # 122, at 2.) This argument is without merit. First, it
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   avoid further unnecessary motion practice, the Court will construe Claims Two and Three as

   being plead under the Montreal Convention. Count One is dismissed.

                      2. DHL and Lufthansa are subject to liability as contracting and
                         actual carriers, respectively

              Article 39 of the Montreal Convention provides:

              The provisions of this Chapter apply when a person (hereinafter referred to as "the
              contracting carrier") as a principal makes a contract of carriage governed by this
              Convention with a passenger or consignor or with a person acting on behalf of the
              passenger or consignor, and another person (hereinafter referred to as "the actual
              carrier") performs, by virtue of authority from the contracting carrier, the whole or
              part of the carriage, but is not with respect to such part a successive carrier within the
              meaning of this Convention. Such authority shall be presumed in the absence of
              proof to the contrary.

   Article 40, respective liability of contracting and actual carriers, provides in turn:

              If an actual carrier performs the whole or part of carriage which, according to the
              contract referred to in Article 39, is governed by this Convention, both the
              contracting carrier and the actual carrier shall, except as otherwise provided in this
              Chapter, be subject to the rules of this Convention, the former for the whole of the
              carriage contemplated in the contract, the latter solely for the carriage which it
              performs.

              Accordingly, DHL is subject to liability as a contracting carrier. Lufthansa is subject to

   liability as an actual carrier

                      3. Lilly provided timely notice of its claim

              Article 3 1 of the Convention governs the timely notice of claims:




   is ilndisputed that tlie damage occurred at the Munich airport when the containers were in the charge of
   L2ulihansaand thus Plaintiffs' claims fall within the plain language of Article 18(1) and (3). Second,
   Plaintiffs' suggested interpretation of Article 18(1) would totally circumvent the intended purpose of the
   Montreal Convention to create a uniform and predicable system of liability for commercial parties
   engaged in international air transport. Under Plaintiffs' argument, a plaintiff could push back the
   'bcai~se"of the damage prior to the time of air carriage simply by alleging some anterior superseding
   c\ elit.
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          (2) In the case of damage, the person entitled to delivery must complain to the carrier
          forthwith after the discovery of the damage, and, at the latest, within seven days from
          the date of receipt in the case of checked baggage and fourteen days from the date of
          receipt in the case of cargo. In the case of delay, the complaint must be made at the
          latest within twenty-one days from the date on which the baggage or cargo have been
          placed at his or her disposal.

          (3) Every complaint must be made in writing and given or dispatched within the
          times aforesaid.

          (4) If no complaint is made within the times aforesaid, no action shall lie against the
          carrier, save in the case of fraud on its part.

   Dekndants attempt to argue that Plaintiffs' claims are precluded because Lilly France, not Lilly

   filed the notice of claim. Defendants also argue that Plaintiffs' claims are precluded because the

   notice filed by Lilly France was "contingent and preliminary" in nature. Both arguments are

   uithout merit.

          The purpose of the requirement of written notice is to adequately inform the carrier of the

   nature of damages claimed against it. See Highlands Insurance Co. v. Trinidad & Tobago (BWIA

   International) Airways Corp., 739 F.2d 536, 540 (1 lth Cir. 1984). As stated by the court in

   Pesquera Navimar. S.A. v. Ecuatoriana de Aviacion, 680 F. Supp. 1526, 1527 (S.D. Fla. 1988),

   "the purpose of the notice requirement is just that, to give notice." Here, Lilly France's notices to

   111-IL, dated December 23 and 24, 2004, satisfy the notice requirement of Article 3 1. In both

   notices. a I,illy France Business Logistics employee wrote to the DHL implant at the Fegersheim

   plant: "Our branch in the United States just notified us that a change in temperature occurred

   ~rhilethe shipment was in transit between Fegersheim and Indianapolis." (dkt # 120-2, at 3, 7.)

   The notices then list damage amounts for both shipments. The letter concludes, "You are hereby

   informed that we hold you liable for those losses." (Id.at 4, 8.) On December 24, 2004, DHL
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   forwarded the notices of claim to Lufthansa. These notices contain a definite claim for damages

   made by the party entitled to delivery. The notices were sufficient on behalf of Lilly to put

   I)cfndants on notice of damage to the cargo because Lilly France was relaying information

   provided by Lilly concerning damage to the cargo, which is the functional equivalent of Lilly

   having provided notice directly. Moreover, even if construed as notice on behalf of Lilly France,

   fi~lfillmentof the notice requirement passes to Lilly by virtue of Lilly France's assignment of

   rights and ratification to Lilly. (See dkt # 120-4.) As such, both Defendants received adequate

   notice of the damage within fourteen days from Lilly's receipt of the shipments.

                   4. Standing

           Article 14 of the Convention provides that both consignors and consignees can enforce

   their rights under the contract of carriage: "The consignor and the consignee can respectively

   enforce all the rights given to them by Articles 12 and 13, each in its own name, whether it is

   acting in its own interest or in the interest of another, provided that it carries out the obligations

   imposed by the contract of carriage." Article 13 provides that the consignee, absent an exercise

   of the consignor's conflicting rights, has the right to delivery of the shipment. A consignee may

   sue both the contractual and actual carrier for any damages that occurred during shipping. See

   Convention, at Art. 45 ("In relation to the carriage performed by the actual carrier, an action for

   damages may be brought, at the option of the plaintiff, against that carrier or the contracting

   carrier, or against both together or separately."). Accordingly, Plaintiffs have standing to sue

   Defendants under the Convention.

          Additionally, Lilly France has assigned all of its rights pursuant to the shipments to Plaintiffs

   in thc instant case and has ratified this action. (See dkt # 120-4.) Fed. R. Civ. P. 17(a) provides in
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   relevant part:

          No action shall be dismissed on the ground that it is not prosecuted in the name of
          the real party in interest until a reasonable time has been allowed after objection for
          ratification of commencement of the action by, or joinder or substitution of, the real
          party in interest; and such ratification, joinder, or substitution shall have the same
          effect as if the action had been commenced in the name of the real party in interest.

   "'rhe function of this ratification rule 'is simply to protect the defendant against a subsequent

   action by the party actually entitled to recover, and to insure generally that the judgment will

   have its proper effect as res judicata."' Arabian American Oil Co. v. Scarfone, 939 F.2d 1472,

   1477 ( 1 1 th Cir. 1991) (citing Fed.R.Civ.P. 17(a), notes of advisory committee on 1966

   amendment). The Court finds that, even if Plaintiffs lacked standing to bring this suit pursuant

   to Articles 14 and 45 of the Convention, Lilly France's assignment and ratification is valid under

   Fed. R. Civ. P. 17(a) and resolves any remaining doubts as to Plaintiffs' standing. Under these

   circun~stances,any ratification prior to final judgment is effective because it furthers Rule 17(a)'s

   purpose of protecting Defendants against subsequent litigation, ensures that the final judgment

   will have its proper res judicata effect, and works no prejudice upon Defendants.

           B. Defendants are Liable under the Montreal Convention

           Montreal Convention, Article 18, provides that: "The carrier is liable for damage

   sustained in the event of the destruction or loss of or damage to, cargo upon condition only that

   the event which caused the damage so sustained took place during the carriage by air." A prima

   f'acie case of carrier liability under the Montreal Convention is established upon a showing that

   thc goods were delivered to the carrier in       condition, were delivered to the consignee at

   destination in damaged condition, and resulted in a specified amount of damage. Wea Farms v.

   American Airlines, Inc., 2007 WL 1173077, "3 (S.D. Fla., April 18,2007) (citing, Offshore
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   A \ iation v. Transcon Lines, Inc., 83 1 F .2d 1013, 1014 (I 1th Cir. 1987)).

                   1. The cargo was delivered to Defendants in good condition

          If the shipment at issue is a sealed container, then the carrier has no independent ability to

   ascertain tlie contents of the shipment, and the shipper is held to a higher standard of proof.

   A.I.G. Uruguay Compania de Senuros, S.A. v. AAA Cooper Transp., 334 F.3d 997, 1004 (1 lth

   Cir. 2003). When a sealed shipment was damaged en route, and, consequently, the question is

   only the original condition of the shipment, then reliable, substantial circumstantial evidence of

   condition will suffice to prove a prima facie case. Id, at 1004. On the other hand, when the

   shipment was lost, destroyed, or damaged to such extent that it is impossible to tell what was

   contained in the shipment, direct evidence of the original contents and condition of the shipment

   is required to prove a prima facie case. Id. As explained by the Eleventh Circuit in A.I.G.: "The

   heightened proof required of shippers for sealed containers turns on whether the carrier can

   reasonably be expected to determine the nature of the shipment through independent

   confirmation." Id.at 1006. In other words, "[wlhen original condition of the contents is at issue

   . . . reliable and substantial circumstantial evidence will suffice, but when the contents
   themselves are in question . . . direct evidence must be presented. " Id.at 1007.

          Here, Plaintiffs need only present circumstantial evidence that the goods were delivered

   to Defendants in good condition as it is the original condition of the cargo that is at issue, not the

   contents tliernselves. Plaintiffs have presented sufficient circumstantial evidence to satisfy their

   prima facie burden that the cargo was delivered to Defendants in good condition. Renee Scheer,

   L-ogistics Manager for Lilly France, submitted an affidavit with extensive documentation of

   business records attesting to the contents of the containers attached thereto. Specifically, the
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   following business records are attached to the affidavit: (1) packing lists for the subject cargo that

   are generated by Lilly France when the cargo is placed in the containers that verify that the

   proper product and quantity were shipped; (2) protocols of manufacture, analysis, and release

   urhich certify that proper procedures of manufacture and packaging were followed for the subject

   cargos and the cargos can be released for export; (3) certificates of analysis that were generated

   bq I,illy brance immediately prior to shipment to certify that the cargo meets the required quality

   standards and are fit for human use; and (4) checklists for the containers that were prepared by

   \\arehouse personnel at Lilly France as the subject cargo was being loaded into the containers to

   confirm that the cargo was, in fact, loaded. (&    dkt # 120-6.) Further, Plaintiffs have

   demonstrated that one of the containers carrying growth hormone and insulin arrived at

   Indianapolis in good condition, thus providing circumstantial evidence that all of the cargo was

   delivered to Defendants in good condition and would have arrived at Indianapolis in good

   condition had the remaining seven containers not been exposed to sub-freezing temperatures.

   7Thisevidence is sufficient to satisfy Plaintiffs' prima facie burden to demonstrate delivery of the

   cargo to Defendants in good condition.

                  2. The cargo was received in damaged condition

          Plaintiffs have produced evidence demonstrating that they received the cargo in damaged

   condition. First, Plaintiffs have presented credible evidence, through Lilly France's "deviation

   reports," that seven of the eight containers were exposed to sub-freezing temperatures.

   Defendants attempt to establish that not all of the containers were subjected to subfreezing

   temperatures because one of the containers only recorded temperatures o f . 1"C below 0°C and

   therefore this was insufficient to establish that the container was exposed to subfreezing
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   temperatures. Ilowever, the TempTales have a margin of error of +I- .S°C. Therefore, the cargo

   could have been exposed to temperatures ranging from -.6"C to .4OC. A recorded temperature of

   -. 1 "C was sufficient to have put the cargo in a range of unacceptable temperatures. While

   Defendants also attempt to attack the accuracy of the TempTales temperature recording devices,

   Plaintiffs have provided an affidavit from David Ray, Senior Director of Quality Assurance for

   Sensitech, Inc., supplier of the TempTales. Mr. Ray states therein that all TempTales were

   thoroughly tested and certified for accuracy before being provided to Lilly France for use.

   Further, the TempTales, when returned to Sensitech (the devices are single-use and must be

   returned to the supplier for retesting before they can be reused), showed no deficiencies and were

   subsecluently resold.

           Second, Plaintiffs have also presented undisputed evidence, through the expert report of

   William C. Harris, that insulin products that are exposed to sub-freezing temperatures are not

   suitable for release for public use. Mr. Harris stated in his report that insulin that has been

   exposed to sub-freezing temperatures may undergo subtle changes that are not detectable by

   physical inspection. In order to adequately test the exposed insulin to determine its integrity, the

   insulin must be destructively tested. The necessary conclusion from Mr. Harris' report is that no

   insulin that has been exposed to freezing temperature may be released for public consumption

   bccause the only way to determine the insulin's integrity is through destructive testing which

   uould render the insulin unusable. That is, once the insulin products have been subjected to sub-

   f'reezing temperatures, they become unsaleable, regardless of whether actual damage occurs.'

           5
                   The Defendants argue extensively that Plaintiffs have not established that the cargo was
   damaged when it was delivered because Defendants were unable to test the insulin products themselves
   to determilie damage and Plaintiffs have failed to produce evidence of actual physical damage to the
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   Even with the Temptales' margin of error of +I-S°C, the mere possibility that the insulin had

   been exposed to sub-freezing temperature, combined with the necessity of destructive testing, is

   sufficient to conclude that the insulin could not safely be released for public consumption.

           Third, Plaintiffs point to 21 C.F.R. 5 21 1.208, drug product salvaging, which provides in

   rcle\,ant part:

           Drug products that have been subjected to improper storage conditions including
           extremes in temperature, humidity, smoke, fumes, pressure, age, or radiation due to
           natural disasters, fires, accidents, or equipment failures shall not be salvaged and
           returned to the marketplace. Whenever there is a question whether drug products
           have been subjected to these conditions, salvaging operations may be conducted only
           if there is (a) evidence from laboratory tests and assays (including animal feeding
           studies where applicable) that the drug products meet all applicable standards of
           identity, strength, quality, and purity and (b) evidence from inspection of the
           premises that the drug products and their associated packaging were not subjected to
           improper storage conditions as a result of the disaster or accident.

   As there was evidence affirmatively establishing that the insulin was subjected to improper

   storage conditions and there was no viable testing that would have conclusively demonstrated the

   presence of damage while preserving the integrity of the insulin, salvaging the cargo would have

   becn in violation of federal regulations.

           Thus, reliable reports that the insulin products were subjected to sub-freezing

   temperatures. the conclusion that insulin products subjected to sub-freezing temperatures may

   not be safely released to the public, and the federal regulation prohibiting salvage of

   pharnmaceuticals subjected to improper storage conditions- taken in conjunction, conclusively


   insulin products. Defendants arguments miss the fundamental point regarding the damage to the insulin
   products: the exposure or likelihood of exposure to sub-freezing temperatures rendered the insulin
   products unsaleable and thus useless, regardless of whether actual observable damage occurred.
   Moreover, even given the possibility of testing random samples, the health and safety concern, and
   corresponding potential liability, surrounding distribution of a pharmaceutical product that may have
   been improperly exposed to sub-freezing temperatures warranted the destruction of the entire lot.
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   denionstrate that the cargo was received by Lilly in damaged, unsaleable, and useless condition.

   Finally. Defendants have offered no explanation, such as fraud, as to why Plaintiffs, having had

   an ongoing successful shipping relationship with Plaintiffs, would now for the first time falsely

   claim damage, in the absence of actual damage, of products whose very business it is for Plaintiff

   to resell for profit.

                    3. Defendants have no defenses under the Montreal Convention

           Article 18(2) of the Montreal Convention provides that

           the carrier is not liable if and to the extent it proves that the destruction, or loss of,
           or darnage to, the cargo resulted from one or more of the following:

           (a) inherent defect, quality or vice of that cargo;

           (b) defective packing of that cargo performed by a person other than the carrier or its
           servants or agents;

           (c) an act of war or an armed conflict;

           (d) an act of public authority carried out in connection with the entry, exit or transit
           of the cargo.

           Defendants have failed to proffer evidence that any of the four enumerated defenses set

   forth in Article 18(2) apply in this case.

           Article 20 of the Montreal Convention provides Defendants an additional defense for

   exoneration. Article 20 provides that:

           If the carrier proves that the damage was caused or contributed to by the negligence
           or other wrongful act or omission ofthe person claiming compensation, or the person
           from whom he or she derives his or her rights, the carrier shall be wholly or partly
           exonerated from its liability to the claimant to the extent that such negligence or
           wrongful act or omission caused or contributed to the damage.

           l,ufthansa suggests that Lilly France was negligent in approving the routing of the
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   shipment in violation of the Standard Operating Procedures. The Court rejects this argument.

   rhere is no evidence on the record that Lilly France acted negligently. Lilly France agreed to

   route the shipment through the Munich Airport at the suggestion of Lufthansa. If there was an

   embargo for temperature-sensitive products at the Munich Airport at the time of the shipments,

   there is no evidence that Lilly France was aware of it. In fact, the evidence indicates that the

   eliibargo was not imposed until January 2005, after the shipments occurred. Further, the

   shipments in question were to be shipped pursuant to the "Cool/td" program which was

   specilically designed to prevent against exposure to freezing temperatures. A number of

   shipments (at least eight) had gone through the Munich Airport in the two years prior to the

   shipments in question without mishap. Even if Lilly had been aware of an embargo that was in

   effect, as long as Lufthansa represented that it could transport the cargo through Munich Airport

   without compromising the cargo, Lilly would not have been negligent. Finally, documents and

   correspondence exchanged at the time of the incident demonstrate that the damage was the result

   of hu~iianerror at the Munich Airport, and not due to any negligence by Lilly France.

           1-ufthansa also suggests that it should be wholly or partially exonerated because of DHL's

   allegedly negligent designation of the cargo as "consolidated" on the master air waybill. The

   "consolidated" designation might be of some significance in a case where a shipper had no

   knowledge concerning the nature of the cargo and could reasonably infer from the "consolidated"

   designation that the cargo was of low value and required no special handling. However, given the

   circ~~nistances
                here, the "consolidated" designation is insufficient to establish exoneration. The

   [,I19 containers were shipped via Lufthansa's Coolltd shipping service. The purpose of using

   Coolltd and the "cooltainers" was to regulate the temperature of cargo during shipping.
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   1,uftliansa was aware of Lilly's shipping needs concerning temperature sensitive cargo and was

   aware that Lilly used to Coolltd shipping service. Therefore, in light of Lufthansa's knowledge

   concerning the temperature-sensitive handling that Lilly required, Lufthansa could not have

   reasonably drawn an inference to the contrary based on the "consolidated" designation.

   Moreover, even in the absence of knowledge concerning the cargo and usage of the Coolltd

   shipping service, all of the waybills contained instructions to keep the cargo "REFRIGERATED

   A'I +8 DEGREES CELSIUS" and to "AVOID FREEZING." Accordingly, Lufihansa is not

   entitled to an exoneration defense.

                   4. Damages

           The parties do not dispute that if Defendants are found liable, Plaintiffs are entitled to

   damages. However, the parties dispute the amount of Plaintiffs' damages and the Defendants'

   limitation of liability for those damages.

                           a. Lufthansa's liability is capped at 17 Special Drawing Rights per kilo

          Article 22(3) of the Montreal Convention states:

           In the carriage of cargo, the liability of the carrier in the case of destruction, loss, damage or
           delay is limited to a sum of 17 Special Drawing Rights6 per kilogram, unless the consignor
           has made, at the time when the package was handed over to the carrier, a special declaration
           of interest in delivery at destination and has paid a supplementary sum ifthe case so requires.

           Plaintiffs concede that, under the Montreal Convention, Lufthansa's damages are capped

   at 17 SDRs per kilo. The parties also concede that Plaintiffs can only recover for the weight of

   the damaged cargo.




           6
                    The Special Drawing Right ("SDR") is a fluctuating international reserve asset created
   by the International Monetary Fund. See http://www.imf.org/external/np/exr/facts/sdr.htm.
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                          b. DHL's liability is capped at two times the total fees
                             payable to DHL under the Service Agreement

           Article 25 of the Montreal Convention states that: "A carrier may stipulate that the

   contract of carriage shall be subject to higher limits of liability than those provided for in this

   Convention or to no limits of liability whatsoever." The parties did not stipulate in any of the air

   waybills that the shipments in question would be subject to higher limits of liability than those

   provided for in the Montreal Convention. However, Lilly argues that Article 5 of the Service

   Agreement contains a higher limit of liability for DHL than that provided for in the Montreal

   Convention. Lilly seeks to have the Court apply this higher liability limitation to its damages

   against DHL.

           Article 5 of the Service Agreement between DHL and Lilly provides under "Liability

   1,imitations": "Except for a party's obligations of this Agreement, any damages either party is

   required to pay for any reason whatsoever and regardless of the form of action, in the aggregate,

   shall be limited to two times the amount of the total fees payable to Supplier hereunder." This

   provision does not specify whether the reference to "total fees payable" refers to total fees

   payable for a particular shipment that is damaged or lost, or to total fees payable for the duration

   of the Service Agreement.

           Plaintiffs and DHL dispute the meaning of this contractual provision. DHL contends that

   it is illogical to read the provision "two times the amount of the total fees payable to Supplier

   liere~uider"to mean two times the total fees payable to DHL under the entire term of the Service

   Agreement. DHL argues that if the damages occurred in the first week of the contract, this

   reading of the provision would require the parties to wait five years (the length of the Service
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   Agreement) to determine whether the liability limitation applies. DHL contends that a more

   sensible interpretation would be to read the provision as limiting liability to double the amount of

   f'ees for each particular shipment governed by the Service Agreement. DHL estimates that the

   cost of shipment in this case was less than 3000 euros.

           Plaintiffs contend that DHL's interpretation of the liability limitation provision is

   erroneous because the Montreal Convention prohibits carriers from setting a limitation of

   liability lower than that provided for in the Montreal Convention (i.e. 17 SDR's per k i l ~ g r a m ) . ~

   l'laintiffs contend that the only reasonable interpretation of the provision is to read the limitation

   of liability as totaling two times the total amount of fees under the contract. Plaintiffs estimate

   that Lailly paid DHL $250,000,000 for services over the course of the five year term of the

   Service Agreement, and that it is not unreasonable for the Parties to wait until the end of the

   contract to determine the limitation of liability. Additionally, Plaintiffs assert that there would be

   no reason to wait until the expiration of the contract to determine the liability limitations because

   the Parties could determine whether the damages in a lawsuit exceeded the amount of fees paid at

   any time during the course of the contract.

           'I'his Court finds that the Liability Limitation clearly and unambiguously establishes that

   111-IL's liability is limited to two times the total fees payable to DHL for the duration of the

   Service Agreement. Article 5 states that "any damages either party is required to pay for any

   reason whatsoever and regardless of the form of action, in the aggregate, shall be limited to two

   times the amount of the total fees payable to Supplier hereunder." The Service Agreement's


           7
                      Article 26 of the Montreal Convention states that "Any provision tending to relieve the
   carrier of liability or to fix a lower limit than that which is laid down in this Convention shall be null and
   \loid.''
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   rcii.rencc to "any damages . . . in the aggregate" is an unambiguous reference to total damages

   recoverable for the duration of the Service Agreement. The Service Agreement's reference to

   damages "in the aggregate" supports the conclusions that "total fees payable" refers to the

   aggregate of all fees payable for the duration of the Service Agreement. This is so because the

   Service Agreement's attempt to limit total damages recoverable for the duration of the contract is

   followed by language that compares such damages with the total fees payable. The juxtaposition

   of "aggregate damages" with "total fees payable" indicates that both are made in reference to the

   duration of the Service Agreement, resulting in temporal parity between damages and fees that

   Iacilitates easy comparison. To find otherwise would result in the absurd interpretation that total

   aggregate damages recoverable for the duration of the contract would be limited to twice the fees

   associated with any particular shipment that was damaged. Thus, once a loss occurred resulting

   in damages, the amount of damages paid for that incident would constitute the total aggregate

   damages recoverable for the life of the Service Agreement. Such an interpretation is both

   insensible and unsupported by the language of Article 5. Moreover, the use of "hereunder" in

   Article 5 further supports the conclusion that "total fees payable" refers to total fees payable for

   the duration of the Service Agreement because "hereunder" refers to the Service Agreement in its

   entirety.

           Finally, under DHL's interpretation, there are circumstances in which a damages limit of

   ti$ ice the shipping cost of a particular shipment would violate the Montreal Convention's

   ~nininiunidamages threshold of 17 SDR's per kilo. In such cases, the above-referenced

   pro\/isio~iin Article 5 would become surplusage because Article 26 of the Montreal Convention

   renders null and void any provision that limits damages to less than 17 SDR's per kilo. See Fla.
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   Polk County v. Prison Health Servs., Inc., 170 F.3d 1431, 1439 ( I 1th Cir. 1999) (stating that the

   pro\~isionsof a contract should be construed to give every provision meaning); Maccaferri

   Gabions. Inc. v. Dynateria Inc., 91 F.3d 143 1, 1439 (I lth Cir. 1999) (stating that an

   interpretation that gives meaning to all parts of a contract is preferable to one which leaves

   portions meaningless). Therefore, the damages limit under Article 5 is two times the total fees

   111IIi is entitled to for the duration of the Service Agreement.

           Even if the liability limitation provision of Article 5 of the Service Agreement was

   ambiguous, par01 evidence supplied by Lilly would still support the Court's interpretation.

   "Extrinsic evidence is admissible to explain a latent ambiguity, but is not admissible in the case

   of a patent ambiguity." Ace Electric Supply Co. v. Terra Nova Electric, Inc., 288 So. 2d 544,

   547 (Fla.1 st DCA 1973) (internal citations omitted). Here, if there is any ambiguity as to the

   liability limitation provision, the ambiguity is latent, as the language is clear and intelligible but

   the parties disagree as to whether the limitation applies to fees paid to DHL for each shipment or

   fees paid over the entire course of the contract. See Johnson Enters. of Jacksonville v. FPL

   (iroup. 162 F.3d 1290, 13 10 ( I 1th Cir. 1998) ("A latent ambiguity . . . is said to exist where a

   contract fails to specify the rights or duties of the parties in certain situations and extrinsic

   evidence is necessary for interpretation or a choice between two possible meanings.")

   (quoting Crown Mana~ementCow. v. Goodman, 452 So.2d 49, 52 (Fla. 2d DCA 1984).

           David Bernard, the Lilly lawyer that drafted the liability limitation provision in Article 5,

   testified at his deposition that his intent in drafting the provision was to set the liability limitation

   at t\vo times the total fees paid by Lilly to DHL over the course of the five-year Service

   Igrccment. (Bernard Deposition at 25.) Bernard also testified that the clause was intended to
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                 l ~DHL, over the course of the Service Agreement: "The intent was that as a supplier
   jliiti r ~ s to

   collccts fees that they would also accept greater risk of their activities." (Id.at 26.)

          Accordingly, the Court finds that under the plain terms of Article 5, DHL's liability is

   capped at two times the total amount of fees due under the Service Agreement. Additionally,

   even if the terins of Article 5 were ambiguous, the record evidence indicates that the Parties'

   intent was to limit DHL's liability to two times the total amount of fees due. Michael Mabe,

   1-illy's Department Head of International Transportation and Services, stated in an affidavit that

   [If IL's fees under the Service Agreement have exceeded $250,000,000.8 (See Mabe Affidavit at

   3.) As Plaintiffs are seeking damages in the range of $10,000,000, DHL's liability limitation

   under the Service Agreement is not triggered here.

                          c. Damages calculated based on the transfer price

          The traditional measure of damages in a cargo case is the difference between the fair

   market value of the cargo in good condition at the port of destination, and the fair market value

   oi'tlic cargo in its damaged condition at the port of destination.     Terman Foods, Inc. v. Omega

   I.ines, 707 F.2d 1225 (1 1th Cir. 1983). The theory is that, generally, merely awarding

   replacement costs deprives a manufacturer of expected profit which he is on the verge of earning

   and does not compensate him for what he would have had if the contract had been performed.

   Sec Polaroid Corp. v. Schuster's Express, Inc., 484 F.2d 349, 351 (1st Cir. 1973)
   -

           In this case, there is nothing on the record to indicate the fair market value of the

   clamaged insulin. Cf. Proiect Hope v. M/V Ibn Sina, 250 F.3d 67, 77 (2d Cir. 2001) (finding that



           X
                   While Defendants have moved to strike Mabe's affidavit, they do not challenge his
   testimony regarding DHL's total fees under the Service Agreement.
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   tI1~1.ewas no open market from which to derive the fair market value of humulin, Lilly's insulin

   17roduct). However, there is evidence on the record as to the "transfer" price of the damaged

   insulin, which represents the price at which Lilly could sell the insulin products to the next

   affiliate or third-party in the supply chain. Lilly urges the Court to follow Terman Foods and

   a~varddamages based on the transfer price of the insulin products.

           Defendants, on the other hand, ask the Court to limit damages to Lilly's manufacturing

   co\ts. Ilel'endants point to an exception to the traditional rule of damages in cargo cases set forth

   in Illinois Cent. R.R. Co. v. Crail, 281 U.S. 57, 64-65 (1930), in which the Supreme Court held

   that "1 the market value measure] may be discarded and other more accurate means resorted to if,

   I'or special reasons, it is not exact or otherwise not applicable." In that case, the plaintiff, a coal

   dealer, purchased a carload of coal, the shipment of which was delivered with 5,500 pounds less

   than the agreed upon amount. At the time of delivery, the plaintiff had not resold any of the coal

   and the shortage did not interfere with the maintenance of his usual stock. He was able to

   purchase coal of like quality at a wholesale price of $5.50 per ton. The retail market price was

   $13 per ton. The Supreme Court held that the retail market price was not the appropriate measure

   oi'damages because, "in the actual circumstances the cost of replacing the exact shortage at retail

   price was not the measure of the loss, since it was capable of replacement, and was, in fact,

   replaced in the course of respondent's business from purchases made in carload lots at wholesale

   market price without added expense." Id.at 63. Defendants argue that, under Crail,

   manuI'acturing costs are the most appropriate measure of damages, because the insulin products

   that were destroyed were replaced from existing inventory and this inventory was then replaced

   tliroilgh Lilly France's normal manufacturing process.
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          The Court finds that the transfer price is the best measure of damages here. Marty

   C'lemens. a manager in tax for Lilly, testified regarding the nature of pricing within Lilly and

   amongst its affiliates. Lilly and its affiliates transact with each other at arm's length. (Clemens

   Deposition, at 17.) From initial manufacture to final sale, pharmaceuticals within the Lilly

   supply chain are subject to a number of inter-affiliate transactions. For example, one Lilly

   afiliate commits resources to research and development for a chemical and manufactures the

   chcmical in bulk. (Id.at 29.) The bulk manufacturer Lilly affiliate then sells the chemical to

   another Lilly affiliate for further processing at a price which reflects the bulk manufacturing costs

   and costs for research and development and service along with a profit allocation to the bulk

   manufacturer Lilly affiliate. (Id.at 14,47.) At the next level, the processing Lilly affiliate

   performs f~trthermanufacturing for which it incurs costs. The price to the next Lilly affiliate (the

   third in the chain in this example) must account for this cost and the appropriate level of profit

   carned by the processing Lilly affiliate. That is, as the product moves along the supply chain to

   thc end customer, all costs and profit as to each Lilly affiliate in the supply chain must be

   accounted for in the price of the product.

          The transfer price represents the price at which a Lilly affiliate in the supply chain, that is

   in possession of a product at a certain point in time, sells the product to another Lilly affiliate or a

   third-party. The transfer price encompasses all the costs incurred throughout the Lilly supply

   chain up to a given point and all the profit that is earned in each step of the supply chain up to

   that point. The "manufacturing costs" that Defendants seek to set as damages fail to account for

   all the other costs incurred as the product moves through the supply chain Awarding damages

   based on "manufacturing costs" also fails to account for the profit that the various Lilly affiliates
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   havc already built into the transfer price. Thus, in order to make Lilly whole, it is not simply a

   matter of purchasing more of a commodity from a wholesaler like a coal dealer. The correct

   measure of damages is the transfer price which represents the real "economic value" that Lilly

   lost when the insulin was damaged in transit.   (uat 30.) Pursuant to Articles 40,41 and 45 of
   the Montreal Convention, both DHL and Lufthansa are liable for damages to which Plaintiffs are

   entitled up to the aforementioned limits as specified in subsection (B)(4) of this Order.

          C . Plaintiffs Have Not Committed Spoilation of Evidence Warranting an
              Adverse Inference Instruction or Dismissal of Their Case

          Ilefendants seek sanctions against Plaintiffs for Lilly's destruction of the insulin without

   physical inspection and without allowing DHL's representatives to examine the insulin. A party

   seeking an adverse inference instruction (or other sanctions) based on the spoliation of evidence

   must establish the following three elements: (1) that the party having control over the evidence

   had an obligation to preserve it at the time it was destroyed, (2) that the records were destroyed

   ~vitha "culpable state of mind" and (3) that the destroyed evidence was "relevant" to the party's

   claim or defense such that a reasonable trier of fact could find that it would support that claim or

                                      , F. Supp. 2d 1287, 1315 (S.D. Fla. 2006) (quoting Zubulake
   defense. Poselv v. Eckerd C o r ~ .433

   v. lJHS Warbur&LLC, 229 F.R.D. 422,430 (S.D.N.Y. 2004)).

          Here, two of the factors militate against imposing any kind of sanctions against Plaintiffs.

   First, Defendants have not shown that Lilly acted with a "culpable state of mind" in destroying

   the insulin products. There is no evidence in the record to suggest that Lilly destroyed the insulin

   products in a bad faith attempt to impede or hinder Defendants' case. Second, as discussed

   above, Lilly's destruction of the insulin products did not affect Defendants ability to make a
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   claim or a defense. The exposure to sub-freezing temperatures rendered the insulin products

   ~rnsaleablttand thus useless, regardless of whether actual observable damage occurred. The only

   way to conclusively determine that damage had not occurred would be to destructively test each

   vial of insulin. Moreover, despite the possibility of testing random samples within the cargo, the

   health and safety concern surrounding the possibility that some vials were compromised while

   others were not warranted destruction of the entire lot. Thus, even if DHL had been allowed

   acccss to the insulin products, the insulin would have still been destroyed, irrespective of the

   resi~ltsof any testing. Thus, the relief sought by Defendants is inappropriate here.

          D. Motions to Strike

          The parties have also filed a number of Motions to Strike. Those motions are denied for

   the reasons stated below.

                   I . Motion to Strike Affidavit of Rene Scheer (dkt #'s 145, 150 )

          'T'he Court has only relied on that portion of Scheer's affidavit that sets forth and attaches

   tile business records relating to the shipments in question: i.e., packing lists for the subject cargo

   gcnerated by Lilly France, protocols of manufacture, analysis, and release; certificates of

   analysis; and checklists for the containers. (See supra Section II.B.l; dkt # 120-6 at 2-3.) DHL

   argues that these documents are inadmissible hearsay.

          The business records exception to the hearsay rule, set forth in Fed. R. Evid. 803(6):

          Records of regularly conducted activity. A memorandum, report, record, or data
          compilation, in any form, of acts, events, conditions, opinions, or diagnoses, made
          at or near the time by, or from information transmitted by, a person with knowledge,
          if kept in the course of a regularly conducted business activity, and if it was the
          regular practice of that business activity to make the memorandum, report, record or
          data compilation, all as shown by the testimony of the custodian or other qualified
          witness, or by certification that complies with Rule 902(1 1)' Rule 902(12), or a
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          statute permitting certification, unless the source of information or the method or
          circumstances of preparation indicate lack of trustworthiness.

          The documents attached to Scheer's affidavit fall within the business records exception to

   the hearsay rule. Scheer is a qualified witness. He is the logistics manager for Lilly France. He

   is responsible for managing the entire logistics chain for shipments moving in and out of the

   Fegersheim plant. (See Scheer Deposition at 9.) Therefore, Scheer is qualified to testify

   concerning the documentation that accompanies shipments of pharmaceuticals from the

   1:cgershcim plant. Additionally, Scheer states in his affidavit that these documents were created

   and maintained in the ordinary course of business as part of Lilly France's regular business

   practice for every shipment that leaves their facility. (&   dkt # 120-6 at 2.) Finally, the Court

   disagrees with DHL that the French-language check-lists and Scheer's translation into English

   arc inadmissible. Scheer states in his affidavit that the checklist is a regularly-kept business

   rccord and as a French and English speaker, Scheer can offer testimony that the documents are

   uhat he purports them to be. As such, the Motion to Strike Scheer's affidavit is DENIED.

                  2. Motion to Strike Affidavits of Michael Mabe (dkt # 114,
                     117), Motion to Strike Affidavit of Monika Houck (dkt # 146),
                     Motion to Strike Portions of Affidavit J. Florian Pfaff (dkt #
                     147); Motion to Strike Supplement Affidavit of Rene Scheer
                     (dkt # 158)

          The Court has not relied on the challenged portions of these affidavits or the documents

   attached thereto in making its rulings in this Order. Accordingly, these Motions to Strike are



   IV.    CONCLUSION

   Based on the foregoing, it is:
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           ORDERED AND ADJUDGED that Plaintiffs' Motion for Summary Judgment (dkt # 93)

   is GRANTED IN PART AND DENIED IN PART, consistent with terms of this Order. It is

   fi~rther

           ORDERED AND ADJUDGED that DHL's Motion for Summary Judgment (dkt # 88) is

   GRANTED IN PART AND DENIED N PART, consistent with the terms of this Order. It is



           ORDERED AND ADJUDGED that Lufthansa's Motion for Summary Judgment (dkt #

   92) is GRANTED N PART AND DENIED IN PART, consistent with the terms of this Order.

   Given that liability has been established, damages is the only remaining issue to be resolved at

   trial. It is further

           ORDERED AND ADJUDGED that the Parties' Motions to Strike (dkt #'s 1 14, 1 17, 146,

    1 47, I 58) are DENIED.

           DONE AND ORDERED in Chambers at Miami, Florida, this/&day                of March, 2009




                                                       - K! MICHAEL MOORE
                                                        UNITED STATES DISTRICT JUDGE
   cc:     All counsel of record
